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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )
             v.                            )   Criminal No. 1:20-cr-00018
                                           )
MELQUAN BARNETT                            )


                    MOTION FOR ORDER AUTHORIZING
                    PRETRIAL RELEASE OF DEFENDANT


                                    ORDER OF COURT

      Upon consideration of this Motion for Revocation of Detention Order, it is

hereby ORDERED that this Motion is GRANTED.

      Mr. Melquan Barnett shall be released from detention on the ________ day of

__________________, 2020 to the third-party custody of Mrs Marla Hollingsworth

under conditions as will be set by further order of this Court.




                                        _________________________________
                                        Hon. Susan Paradise Baxter
                                        United States District Judge




      cc:    Christian Trabold, Esq., Assistant United States Attorney
             U.S. Marshals
